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AO 91 (Rev. ll/l 1) Criminal Complaint

UNITED STATES DISTRICT CoURT

for the

Southern District of Indiana

 

 

 

United States of America ) S EA L E D »
v. ) '
) Case No. ,
) 1:18-mj-0380
)
Gene BERTH|AUME , :rr. )
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of Apri| 17, 2018 in the county of Hendricks in the
Southern District of |ndiana , the defendant(s) violated:
Coa'e Section O/j”ense Description
Title 18, United States Codel Bank Robbery
Section 2113(a)

This criminal complaint is based on these facts:

See attached affidavit

d Continued on the attached sheet.

/M/@/¢V'”

Complainant ’s signature

 

Mark D. Rutter, FB| Task Force Ocher

 

P):z‘nted name and title

Sworn to before me and signed in my presence.

   

Date; ' 04/20/2018

;; ~\ \ g`e's¢signature` ~`

City and State; |ndianapo|is, |ndiana ' Marl<'J_._`Dihsmor<->,- U.S. Magistrate Judge
P)‘inted nqm`a and title

 

 

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I, Mark D. Rutter, being duly sworn according to law, depose and state as follows:

l. I am a Task Federal Offlcer (TFO) of the Federal Bureau of Investigation (FBI)
and assigned to the Violent Crime Task Force (VCTF) on behalf of the lndianapolis
Metropolitan Police Departrnent (IMPD). I am also a Detective With the lndianapolis
Metropolitan Police Department and have been employed by lMPD for approximately twenty-
two (22) years. I am a graduate of the lndiana Law Enforcement Academy, In my current
assignment, I investigate all matters of Violent crime, to include bank robberies

2. This affidavit is submitted to establish probable cause for an arrest warrant
authorizing the arrest of GENE BERTHIAUME, JR. (BERTHlAUME), white male, date of birth
XX/XX/l 962, Social Security Account Number XXX~XX-783 l.

3. Based on the facts set forth below, I respectfully submit that probable cause exists
to believe that on or about April 17, 2018, BERTHIAUME robbed the Chase Bank located at
807 Southfleld Drive, Plainiield, Indiana, in violation of 18 U.S.C. § 2113.

4. The statements contained in this affidavit are based in part on information
provided by, and conversations held with, Special Agents of the FBI, TFOS assigned to the
lndianapolis VCTF, detectives and patrol officers of the Plainfield (Indiana) Police Department
(PPD), Witnesses, and on my experience and background as a TFO of the FBI. l

5. I have not included each and every fact that has been revealed through the course
of this investigation I have set forth only the facts that l believe are necessary to establish the
required foundation for issuance of the requested complaint and arrest Warrant.

FACTS SETTING FORTH PROBABLE CAUSE
6. Hit and Run Report. On April 17, 2018, at approximately 2:ll p.m., PPD uniform

officers were dispatched to a hit and run automobile crash in the area of Reeves/SR267 . The

 

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caller indicated that the suspect vehicle was a White Jeep (plate number YEKSOO (which returned
to a 1995 white Jeep Cherokee registered to BERTHlAUME of Plainfleld)) leaving the area of
the crash.

7. A Witness to the crash, Witness #l (identity known to me, but redacted herein),
stated that he/ she was leaving Hendricks Regional Hospital at Stanley/SR 267. When he/ she was
at the south exit, he/she observed a white Jeep in the area of SouthHeld/Stanley. Witness #l
stated that he/ she proceeded eastbound to the stop light at 267 and planned to turn southbound on
267. Witness #l observed the white Jeep drive behind him/her prior to turning southbound,
When Witness #l made the right turn, he/ she observed the white Jeep weaving between lanes
and pass Witness #l on the left as he/she pulled to the right shoulder to allow the vehicle to pass.
Witness #l feared that the vehicle would strike Witness #l ’s vehicle due to the aggressive
driving.) Witness #l observed from a distance the white Jeep crash into a red Chevy Impala
(municipal plate 77936) at Reeves/SR 267 . Witness #l called 911 at that point. Witness #l
observed the driver of the white Jeep attempt to put his vehicle in reverse several times. On the
third attempt, the driver was able to dislodge his vehicle from the Chevy Impala and continue
driving southbound on SR267.

8. A short time later, an unknown caller contacted police dispatch and advised
someone was in a Jeep Cherokee Who Was bleeding from the head The vehicle was parked on
Cambridge Way behind White Castle.

9. Another witness, Witness #2 (identity known to me, but redacted herein), advised
he/ she encountered a white male driving what he/ she believed to be a late model (’85-’90) white
Jeep Cherokee who was disorientated. Witness #2 described the driver as approximately 5 ’ lO”

tall, 190 pounds, bald, and having facial hair. The male had facial lacerations and blood on his

 

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face and was wearing a black, long-sleeve, tight-fit shirt With blue jeans and tennis shoes and a
belt. Witness #2 believed that the lacerations were sustained when he struck the windshield,
which was broken in a “spider we ” pattern. Witness #2 encountered the bleeding white male at
the Quizno’s retail location near Cambridge and Perry Rd. Witness #2 offered to call for help,
but the male refused, saying something to the effect of, “Hell no.”

10. Bank Robbery. On April 17, 2018, at approximately 2: 14 p.m., PPD received a
report that the Chase Bank located at 807 Southfield Drive, Plainfield, lndiana, had been robbed.
PPD officers were dispatched to the bank.

11. Based on my training, experience, and knowledge of this investigation, I know
that the deposits of Chase Bank were insured by the Federal Deposit Insurance Corporation at all
times material herein.

12. After receiving the robbery report, PPD Detective Brian Bugler went to the Chase
Bank to speak with bank employees regarding the robbery. Bugler spoke with a victim-teller,
Victim #l (identity known to me, but redacted herein). Victim #1 stated that he/ she was Working
a teller station when a white male, between the ages of 50 and 70 years old and weighing about
180 pounds, walked up to Victim #1 ’s teller station. The white male was wearing a black dri-fit
' shirt, j eans, and polarized sunglasses.

13. The white male put a piece of paper on the counter and pointed to it. Victim #1
stated that he/ she glanced at the paper and saw the word “Robbery.” At that point, Victim #l
stated that he/ she made a comment to the White male that Victim #l needed to hit a button to
release money and indicated towards the automatic machine next to him/her. The white male

pointed again at his note. Victim #l read the whole note which indicated, “This is a robbery Put

 

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every bit of cash you have on hand on the Counter Do ANYTHING stupid and I’ll shoot you and
everyone in here!”

14. The white male then took his right hand off the counter area and touched his right
hip, which made Victim #l believe that he was putting his hand on a weapon. Victim #l took
U.S. Currency, including all denominations of bills, out of his/her drawer and handed it to the
White male. Victim #1 stated that when he/ she handed the white male the cash, he stated, “That’ll
do” and walked out.

15. The white male looked down at the note he had and walked out of the bank,
leaving the note behind. As the white male lef’c, Victim #1 hit the alarm button. Victim #l then
went to the front door of the bank and locked the exterior and interior doors.

16. Detective Bugler also spoke with Witness #3 (identity known to me, but redacted
herein) who works for Brinks Security. Witness #3 stated that he/ she had just pulled up to the
ATM in the parking lot of the Chase Bank, when he/she observed a white male parking a mid-
90s, white Jeep Cherokee in the parking lot of the adjacent Roland’s Retirement Center. The
white male walked over a grassy median between the two businesses and entered the bank.
Witness #3 stated that he/ she gathered the necessary equipment in order to do his/her work and
had just “popped the hood” of the ATM, when the white male ran out of the bank carrying
something in his hand. Witness #3 stated that the white male was of slender build, in his 50s, had
a bald head and short goatee, and was wearing a black, long sleeve shirt tucked into j eans, khaki
boots, and sunglasses. The white male ran through the drive-through lanes and had to avoid
vehicles pulling in. The white male entered the white Jeep parked at Roland’s and left at a high

rate of speed through the parking lot, turning southbound on Southfield Dr.

 

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l7. lt was later determined, by bank audit, the bank suffered an approximate loss of
$8,25 5 in United States currency.

18. Location of Jeep and BERTHIAUME. While PPD officers were en route to the
area of the personal injury crash at Reeves/SR 267, they learned that the suspect vehicle in the hit
and run (i.e., the Jeep) was also the likely suspect vehicle in the recent robbery of the Southfield
Drive Chase Bank, Officers were able locate the suspect vehicle a short time later in the area of
Ingram Micro (2075 Reeves Rd).

19. Officers attempted to stop the Jeep. A vehicle pursuit followed, with the suspect
vehicle travelling westbound on Reeves Rd to Perry Rd. The Jeep turned northbound on Perry
Rd from Reeves Rd. The Jeep was weaving between lanes and was observed driving onto the
center median. The vehicle veered to the right north of Stanley on Perry, nearly striking
construction workers who had the right lane blocked off with lights and cones. The vehicle was
approaching Stafford Rd at Amazon (800 S. Perry Rd), when it made an abrupt left turn into the
employee entrance of Amazon, nearly striking a red passenger vehicle traveling southbound on
Perry Rd from Stafford Rd. The Jeep hopped the curb and crashed into the fence of the Amazon
facility.

20. Identific'ation and Arrest of BERTHlAUME. At that point, the driver, a white
male wearing a moisture Wicking, long-sleeve black shirt and jeans, exited the vehicle and began
running from officers southbound on Amazon’s property. Officers were able to apprehend the
suspect and identified him as BERTHlAUME by his lndiana driver’s license. BERTHIAUME’s
vehicle was towed to Plainfield Police Department.

21. `Chase Bank was able to retrieve photographs of the suspect inside the bank during

the robbery and provided them to uniform officers on the scene of the pursuit. Officers positively

 

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matched the suspect in the bank photographs with the white male they had in custody. Officers
were also able to compare the surveillance photographs to the known driver’s license of
BERTHlAUME, finding them to be a match. BERTHlAUME’s clothing also matched those
worn by the bank robbery suspect.

22. BERTHlAUME was placed under arrest. As officers conducted a pat down of
BERTHlAUME, they found a large amount of U.S. Currency in one of his pockets.

23. Search of Jeep. Officers applied for and received a search warrant for the Jeep
Cherokee. Upon execution of the search warrant, officers located approximately $8,182 in
different denominations of U.S. Currency, a partial bottle of Fireball alcohol, several different
pens, several plain white sheets of paper similar to the one used for the note at the bank, a map of
lndiana with a highlighted mark of a route from the Indianapolis area to th_e area of Valparaiso
with different locations on the route marked with a circle, sunglasses similar to those worn by the
robber, and a cell phone.

24. Surveillance photographs obtained from the Chase Bank corroborated in large
part the description(s) of the robber given by victim(s) and witness(es). I have viewed the still
photographs The still photographs show a white male wearing a black, long-sleeved shirt,
tucked into his pants. The robber was wearing a brownbelt, light-colored or stone-Washed jeans,
and khaki boots. The robber also had a goatee or facial hair on his face. The robber as depicted in
the still photographs matches the description of BERTHlAUME upon his arrest.

25. All of the above-described events occurred in the Southern District of Indiana,

Indianapolis Division.

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CONCLUSION
26. Based on the information detailed above, I respectfully submit that
BERTHlAUME violated 18 U.S.C. § 2113(a), which prohibits the taking, by force, violence, or
intimidation, from the person, or in the presence, of another any property, money, or other thing
of value belonging to, or in the custody, care, control, management, or possession of any bank,
credit union, or savings and loan. Accordingly, I respectfully request the Court issue a criminal

complaint and arrest warrant charging BERTHlAUME with this offense.

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Mark D. Rutter
Task Force Officer
Federal Bureau of Investigation

 

Subscribed and sworn before me this Zch day ~o_f April, 2018.

    

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